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                                          March 31, 2025




                                      NOTICE


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